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                                                       June 10, 2021
Via ECF

The Honorable Nitza Ileana Quiñones Alejandro
Eastern District of Pennsylvania
United States District Court

        RE:       GAY v. THE CHILDREN'S HOSPITAL OF PHILADELPHIA et al.
                  2:18-cv-02880-NIQA

Dear Judge Quiñones Alejandro:

       Counsel in this matter submit this joint status update to indicate to Your Honor that
counsel have met and conferred about this matter, generally, and with respect to trial scheduling.

                 The parties seek a trial date in the early part of 2022, based upon numerous
                  factors for all parties including the availability of witnesses and counsel.

                 The parties have discussed revisiting consenting to trial by a magistrate judge, but
                  the parties are not in agreement on the issue.
                                                           Respectfully,
                                                           /s/Patrick M. Harrington
                                                           Patrick M. Harrington
                                                           Counsel for Defendants

                                                           /s/ Andrew Lacy
                                                           Andrew Lacy
                                                           Counsel for Plaintiff




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